

Sackman Enters. Inc. v Board of Mgrs. of the Chesterfield Condominium (2021 NY Slip Op 01732)





Sackman Enters. Inc. v Board of Mgrs. of the Chesterfield Condominium


2021 NY Slip Op 01732


Decided on March 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 23, 2021

Before: Webber, J.P., Oing, Kennedy, Scarpulla, JJ. 


Index No. 161320/18 Appeal No. 13407 Case No. 2020-02409 

[*1]Sackman Enterprises Inc., Plaintiff-Appellant,
vBoard of Managers of the Chesterfield Condominium, et al., Defendants-Respondents.


D'Agostino, Levine, Landesman, Lederman, Rivera &amp; Sampson, LLP, New York (Eric R. Garcia of counsel), for appellant.
Schwartz Sladkus Reich Greenberg Atlas LLP, New York (Kristin E. Pendergrass of counsel), for respondents.



Order, Supreme Court, New York County (James E. D'Auguste, J.), entered December 5, 2019, which granted defendants' motion to dismiss the complaint, unanimously affirmed, with costs.
Plaintiff's allegations are conclusively refuted by documentary evidence (see Whitebox Concentrated Convertible Arbitrage Partners, L.P. v Superior Well Servs., Inc., 20 NY3d 59, 63 [2012]), i.e., plaintiff's assignment of its interest in the condominium's sponsor entity and the subsequent deeds in which title to the unit appurtenant to the parking ramp at the center of the dispute was transferred to another entity, showing that plaintiff did not own the ramp.
Plaintiff's bad faith in filing an unauthorized amendment to the condominium declaration, after assigning away its interest, to purport to obtain title to the ramp, without any colorable basis for doing so, renders its urging for equity unavailing (Levy v Braverman, 24 AD2d 430 [1st Dept 1965]).
We have considered plaintiff's remaining contentions and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 23, 2021








